





TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-00-00340-CR







Norman Earl Swasey, Appellant



v.



The State of Texas, Appellee






FROM THE DISTRICT COURT OF BELL COUNTY, 264TH JUDICIAL DISTRICT


NO. 49,162, HONORABLE MARTHA J. TRUDO, JUDGE PRESIDING







Appellant Norman Earl Swasey was placed on community supervision following
his conviction for theft.  He appeals from an order revoking that supervision and imposing
sentence of imprisonment for ten years.

Appellant's court-appointed attorney filed a brief concluding that the appeal is
frivolous and without merit.  The brief meets the requirements of Anders v. California, 386 U.S.
738 (1967), by presenting a professional evaluation of the record demonstrating why there are no
arguable grounds to be advanced.  See also Penson v. Ohio, 488 U.S. 75 (1988); High v. State,
573 S.W.2d 807 (Tex. Crim. App. 1978); Currie v. State, 516 S.W.2d 684 (Tex. Crim. App.
1974); Jackson v. State, 485 S.W.2d 553 (Tex. Crim. App. 1972); Gainous v. State, 436 S.W.2d
137 (Tex. Crim. App. 1969).  A copy of counsel's brief was delivered to appellant, and appellant
was advised of his right to examine the appellate record and to file a pro se brief.  No pro se brief
has been filed.

We have reviewed the record and counsel's brief and agree that the appeal is
frivolous and without merit.  We find nothing in the record that might arguably support the appeal.

The order revoking community supervision is affirmed.



				                                                                       

				Jan P. Patterson, Justice

Before Chief Justice Aboussie, Justices B. A. Smith and Patterson

Affirmed

Filed:   September 21, 2000

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